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UN|TED STATES DlSTR|CT COURT
MIDDLE D|STR|CT OF FLORlDA
JACKSONV|LLE DN|S|ON
TRUMAN BOWEN, JR.,
P|aintiff.
v. Case No: 3:14-cv-108-J-39PDB

LAW OFFICE OF SUSAN ADD|SON
BLUSH, P.C.,

Defendant.
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ORDF::R OF D|SM|SSAL
TH|S MATTER is before the Court on the Notice of Voiuntary Dismissai Without
Prejudice (Doc. 17; Notice) filed on January 21, 2015. in the Notice, Plaintiff requests a
dismissal of this case without prejudice §_e_e Notice at 1. Accordingly, it is hereby
ORDERED:
1. This case is DlSNIlSSED without prejudice
2. The C|erk of the Court is directed to terminate all pending motions and close

the fiie.

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DONE and ORDERED in Jacksonvi|ie, Fiorida this LZ~ day of January. 2015.

QW

BRlAN J. oAvls it
United States District Judge

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Copies furnished to:

Counsei of Record

